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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                             EVANSVILLE DIVISION



UNITED STATES OF AMERICA,             )
                                      )
                   Plaintiff,         )
                                      )
             v.                       )   Case No. 3:08-cr-29-RLY-WGH-08
                                      )
KEVIN THOMAS,                         )
aka “Little Larry,” “U-da,”           )
                                      )
                   Defendant.         )


                       ORDER GRANTING, IN PART,
                    THE MOTION TO QUASH SUBPOENA

      This matter is before the Honorable William G. Hussmann, Jr., United

States Magistrate Judge, on the Motion to Quash Subpoena filed on January 26,

2009, by the United States of America as to Kevin Thomas. (Docket No. 231).

Defendant’s Response to Government’s Motion to Quash Subpoena was filed on

February 2, 2009. (Docket No. 238).

      The Magistrate Judge, being duly advised, now GRANTS, in part, and

DENIES, in part, the Motion to Quash Subpoena. The custodian of the records

of the Vanderburgh County Jail shall produce, pursuant to the Subpoena, any

booking sheet for Kevin Thomas, Date of Birth XX/XX/86, Social Security No.

XXX-XX-3221, and any incident reports or other documents which relate to or

describe any investigation done by jail personnel surrounding the alleged

smuggling of any contraband into the jail by Kevin Thomas between April 1,
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2008, and May 15, 2008. No other materials need be produced pursuant to the

Subpoena.

      SO ORDERED.


Dated: February 18, 2009
                                            _______________________________
                                             WILLIAM G. HUSSMANN, JR.
                                                  Magistrate Judge



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